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              IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                       CENTRAL DIVISION




 TAJ BECKER, M.D.
         Plaintiff,                                        MEMORANDUM DECISION AND
                                                           ORDER GRANTING IN PART ANTI
                                                           DEN'YING IN PART DEFENDANTS'
                                                           MOTION FOR RECONSIDERATION


                 vs.


 J. DENIS KROLL, et at,                                    Case No. 2:02-CV-24 TS
         Defendants.




        This matter is before the Court on Defendants' Motion for Reconsideration on this

Court's order excluding Dr. Satovick from testifying at trial. For the reasons discussed below the

Court will grant in part and deny in part the motion.

        On January 28,2010, this Court granted Plaintiffs motion to exclude all testimony of Dr.

Satovick based on non-disclosure and therefore non-compliance with the rules of Federal Civil

Procedure. Later that day Detendants filed this Motion, in which facts regarding the disclosure

of Dr. Satovick as a fact witness were revealed to the Court for the first time. Plaintiff filed an

opposition to the motion to reconsider but did not address the fact witness issue, instead Plaintiff

focused on the exclusion of Dr. Satovick as an expert witness. With the additional facts about

Defendants disclosure of Dr. Satovick as a fact witness and Plaintift's failure to contest that issue
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the Court will allow Dr. Satovick to testify as a fact vvitness,

       However, because the Court sliU finds Defendants have failed to comply with rules

regarding expert testimony, it will not pennit Dr. Satovick to testify as an expert.

       It is thereby

       ORDERED that Defendants' Motion to Reconsider is GRk~TED IN PART AND

DENIED IN PART (Docket No. 269) as laid out above.



       DATED February 1, 2010.

                                               BY THE COURT:




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